Case 8:17-cv-01397-JVS-JDE Document 251 Filed 08/12/19 Page 1 of 3 Page ID #:8597



 NYE STIRLING HALE & MILLER, LLP
 Jonathan D. Miller (CA 220848)
 Alison M. Bernal (CA 264629)
 jonathan@nps-law.com
 alison@nshmlaw.com
 33 West Mission St., Suite 201
 Santa Barbara, CA 93101
 Telephone: (805) 963-2345
 Facsimile: (805) 284-9590
 CARLSON LYNCH SWEET
 KILPELA & CARPENTER, LLP
 Todd D. Carpenter (CA 234464)
 tcarpenter@carlsonlynch.com
 1350 Columbia Street, Ste. 603
 San Diego, CA 92101
 Telephone: (619) 762-1900
 Facsimile: (619) 756-6991

 Attorneys for Plaintiffs and the Class
 [Additional Counsel Listed on Signature Page]



                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

  MEGAN SCHMITT, DEANA                    Case No. 8:17-cv-01397-JVS-JDE
  REILLY, CAROL ORLOWSKY, and
  STEPHANIE MILLER BRUN,
  individually and on behalf of           PLAINTIFF’S UNOPPOSED
  themselves and all others similarly     MOTION FOR PRELIMINARY
  situated,                               APPROVAL OF CLASS ACTION
                                          SETTLEMENT, PRELIMINARY
              Plaintiffs,                 CERTIFICATION OF
                                          SETTLEMENT CLASS, AND
        v.                                APPROVAL OF NOTICE PLAN
  YOUNIQUE, LLC,
              Defendant.                  Complaint Filed: 8/17/17
Case 8:17-cv-01397-JVS-JDE Document 251 Filed 08/12/19 Page 2 of 3 Page ID #:8598




        Plaintiffs MEGAN SCHMITT, DEANA REILLY, and STEPHANIE
  MILLER BRUN, (“Plaintiffs”) respectfully move this Court for an Order
  preliminarily approving the proposed class action settlement (“Settlement”),
  approving the form of notice, and scheduling the final approval hearing as set forth
  in the Settlement Agreement attached as Exhibit 1 to the Declaration of Adam
  Gonnelli (“Gonnelli Declaration”). Specifically, the Parties ask that the Court enter
  the proposed Order, thereby
        1.     granting Preliminary Approval of the Settlement;

        2.     approving the proposed Notice Program;

        3.     appointing the Heffler Claims Group as Settlement Administrator and
               directing it to commence the Notice Program;

        4.     conditionally certifying the proposed Class for the purposes of
               Settlement;

        5.     appointing Plaintiffs and certain other class members as Class
               Representatives for the Settlement Class and their counsel as Class
               Counsel for the Settlement Class; and

        6.     setting a schedule for settlement procedures filings and scheduling a
               Final Approval Hearing.
       In support of this Unopposed Motion, Plaintiffs rely on the attached
  Memorandum of Law, the Declarations of Adam Gonnelli and Scott Fenwick and
  their supporting exhibits, all documents filed therewith, and the arguments of
  counsel.
       Respectfully submitted on this 12th day of August, 2019.
  Signatures of counsel on following page.
Case 8:17-cv-01397-JVS-JDE Document 251 Filed 08/12/19 Page 3 of 3 Page ID #:8599




  Dated: August 12, 2019           NYE, STIRLING, HALE & MILLER, LLP
                                   By: /s/
                                       Jonathan D. Miller (CA 220848)
                                       Alison M. Bernal (CA 264629)
                                       33 West Mission St., Suite 201
                                       Santa Barbara, CA 93101
                                       Telephone: (805) 963-2345
                                       Facsimile: (805) 284-9590
                                       jonathan@nshmlaw.com
                                       alison@nshmlaw.com

                                   CARLSON LYNCH SWEET
                                   KILPELA & CARPENTER, LLP
                                   By: /s/
                                       Todd D. Carpenter (CA 234464)
                                       1350 Columbia Street, Ste. 603
                                       San Diego, CA 92101
                                       Telephone: (619) 762-1900
                                       Facsimile: (619) 756-6991
                                       tcarpenter@carlsonlynch.com


                                   THE SULTZER LAW GROUP P.C.
                                   By: /s/
                                       Adam Gonnelli, Esq.
                                       280 Highway 35, Suite 304
                                       Red Bank, NJ 07701
                                       Tel: (732) 741-4290
                                       Fax: (888) 749-7747
                                       gonnellia@thesultzerlawgroup.com

                                   WALSH, LLC
                                   By: /s/
                                       Bonner Walsh, Esq.
                                       1561 Long Haul Road
                                       Grangeville, ID 83530
                                       Tel: (541) 359-2827
                                       Fax: (866) 503-8206
                                       bonner@walshpllc.com

                                   Attorneys for Plaintiffs and the Class
